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       1                        UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
       2                               MIAMI DIVISION
                                    CASE NO. 13-20259-CR
       3

       4     UNITED STATES OF AMERICA,            Miami, Florida

       5                Plaintiff,                February 3, 2014

       6          vs.                             10:16 a.m. to 10:29 a.m.

       7     RODOLPHE JAAR,                       Courtroom 12-2

       8                Defendant.                (Pages 1 to 12)

       9
                                        SENTENCING
      10                BEFORE THE HONORABLE CECILIA M. ALTONAGA,
                               UNITED STATES DISTRICT JUDGE
      11
            APPEARANCES:
      12
             FOR THE GOVERNMENT:      KURT K. LUNKENHEIMER, ESQ.
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      16
             FOR THE DEFENDANT:       RICHARD O. DANSOH, ESQ.
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      20     Also Present:            MICHELLE BURGESS, USPO

      21
             REPORTED BY:             STEPHANIE A. McCARN, RPR
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      24                              (305) 523-5518
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       1                                  I N D E X

       2

       3                                  DIRECT    CROSS    REDIRECT    RECROSS

       4    WITNESSES FOR THE GOVERNMENT:

       5                                    --        --       --          --

       6
            WITNESSES FOR THE DEFENDANT:
       7
                                            --        --           --      --
       8

       9

      10    EXHIBITS MARKED & ADMITTED IN EVIDENCE          MARKED      ADMITTED

      11
            Government's Exhibit No.                          --          --
      12

      13    Defendant's Exhibit No.                           --          --

      14

      15
                                         MISCELLANEOUS
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      17    Proceedings.......................................   3
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       1        (The following proceedings were held at 10:16 a.m.)

       2                THE COURT:    Good morning, please be seated.

       3                Please state your appearances.

       4                MR. LUNKENHEIMER:    Kurt Lunkenheimer on behalf of the

       5    United States.    Good morning, Your Honor.

       6                THE COURT:    Good morning.

       7                MR. DANSOH:    Good morning, Judge, Richard Dansoh on

       8    behalf of the defendant who is present, Rodolphe Jaar.

       9                THE COURT:    I'm sorry.   Could you spell your last

      10    name, please?

      11                MR. DANSOH:    D-A-N-S-O-H, Judge.

      12                THE COURT:    Thank you.

      13                PROBATION OFFICER:    Good morning, Your Honor, Michelle

      14    Burgess on behalf of U.S. Probation.

      15                THE COURT:    Mr. Jaar, good morning.    We are here for

      16    your sentencing hearing.      Have you had the opportunity of

      17    reviewing the presentence investigation report with your

      18    attorney?

      19                THE DEFENDANT:    Yes, Your Honor.

      20                THE COURT:    All right.   I will hear first from the

      21    government and then I will hear from defense.

      22                MR. LUNKENHEIMER:    Well, Your Honor, there are some

      23    outstanding objections to the presentence investigation report,

      24    would you like to address -- me to address those?

      25                THE COURT:    Yes, please.
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       1                MR. LUNKENHEIMER:   Okay.   Your Honor, as you are well

       2    aware from the sentencing of the past two defendants, this was

       3    a slightly unusual case against Mr. Jaar in that he was

       4    cooperating with the DEA at the time of the offense, making

       5    them aware of a drug shipment that was coming into Haiti, a

       6    425-kilogram load of narcotics.       And he was in contact with

       7    agents that were on the ground.

       8                And because of his efforts, DEA was able to seize 270

       9    kilograms of that 420 load and also were able to make an arrest

      10    at the time of Hiro Hiney Piniello who has been sentenced in a

      11    related case, I think, in front of -- I forget it was -- I

      12    believe it was Judge Cooke, I forget exactly.         But he was

      13    arrested at that time and then brought to the United States

      14    where he pled guilty and was sentenced.        And additionally, the

      15    information that Mr. Jaar provided at that time and the seizure

      16    of that narcotics at the residence where it was found led to

      17    the eventual arrest of Francisco Conchico Condello and Olgaire

      18    François.

      19                So it's a slightly unusual case, so because of that in

      20    the negotiations with defense counsel concerning Mr. Jaar's

      21    plea arrangements and the fact that he had led to the seizure

      22    of 270 kilograms and the arrest of at least one individual and

      23    at least they were able to gather evidence against two others,

      24    the government offered Mr. Jaar a sentencing which they gave --

      25    we offered him minor role.      And we do recommend that he receive
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       1    a minor role.    And because of that minor role recommendation,

       2    that kicks in an additional 3-level departure for mitigation in

       3    the -- I forget exactly what statute in 2B1.1, I believe

       4    there's -- I forget the exact terminology in the section.

       5                But -- and therefore that is our recommendation

       6    because of his involvement and what led to taking 270 kilograms

       7    out of the distribution network that was going to bring it to

       8    the United States and leading -- providing for the arrest of

       9    one -- and conviction of one person eventually and the arrest

      10    of two others, we make that recommendation and support it, and

      11    I guess would join in defendant's objections based on that

      12    because we do recommend that.

      13                THE COURT:    The minor role?

      14                MR. LUNKENHEIMER:    The minor role which would then

      15    kick in the three levels.

      16                THE COURT:    All right.   And what is the adjusted

      17    offense level then, that the parties agreed to?

      18                MR. LUNKENHEIMER:    I believe it goes down to 24, Your

      19    Honor, which is 51 months at the low end.        I forget the exact

      20    high end.

      21                MR. DANSOH:    63.

      22                MR. LUNKENHEIMER:    63 months.

      23                THE COURT:    All right.   So the parties are in

      24    agreement that Mr. Jaar's offense level should be a Level 24;

      25    is that correct?
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       1              MR. DANSOH:    Yes, Your Honor.

       2              MR. LUNKENHEIMER:     Per our plea agreement, yes, Your

       3    Honor.

       4              PROBATION OFFICER:     Yes, Your Honor.     That would be

       5    the total Offense Level 24.

       6              THE COURT:    Correct.

       7              PROBATION OFFICER:     Yes.

       8              THE COURT:    Thank you.    All right.

       9              MR. LUNKENHEIMER:     And if the Court is inclined --

      10    then we would recommend -- or whatever the Court determines is

      11    the total offense level, the government, pursuant to the plea

      12    agreement, recommends a sentencing at the low end of the

      13    guideline range, basically for the same reasons that I just

      14    stated as to how we negotiated the minor role.

      15              THE COURT:    I will hear from defense counsel.

      16              MR. DANSOH:    Judge, first of all, I would have to -- I

      17    want to put on the record that the prosecutor has been -- gone

      18    over and beyond the call of duty to be a perfect gentleman

      19    throughout the negotiation.      As a matter of fact, perhaps short

      20    of this admission, the indictment, everything that he agreed to

      21    is what anyone could hope for.

      22              My next request, and I have to be careful in how I

      23    phrase it because the only other possibility was -- and it was

      24    all within the control of Mr. Jaar, the government was even

      25    kind enough to tell him, had he pled sufficiently earlier such
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       1    that the government would have informed the codefendant's

       2    attorney of his availability to testify and if that then

       3    precipitated in the codefendant taking a plea, the government

       4    was even willing to recommend an additional 25 percent

       5    reduction.

       6              That decision by Mr. Jaar was not made timely.           As a

       7    matter of fact, the Court recalls, the change of pleas were

       8    done on the same day, I believe.       So the extra 25 percent was

       9    not available to him.

      10              Given the unusual facts of the case and without

      11    getting into too much detail, there is always that intangible

      12    factor of the risk to himself and his family.         And if the

      13    Court, pursuant to any of the 3555 factors, the Court thought

      14    maybe it would merit any kind of variance, that would have been

      15    that 25 percent that I would be begging the Court for.          As I

      16    said, I approach gingerly because clearly this was something

      17    within his ability, and sometimes it takes a while for folks to

      18    admit things to family as to what they did, and in this case

      19    unfortunately that was the scenario.

      20              But other than that and other than what

      21    Mr. Lunkenheimer has mentioned, we respectfully ask the Court

      22    to consider a sentence at the low end of the guideline plus

      23    anything else that the Court might think would be appropriate.

      24              THE COURT:    Thank you.

      25              MR. LUNKENHEIMER:     Your Honor, I would just briefly
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       1    say that Mr. Dansoh stated correctly that we did not inform

       2    defense counsel for Mr. François that Mr. Jaar was pleading so

       3    that had no factor into Mr. François's decision to plead guilty

       4    and any -- the government is not moving for a 5K1.1 reduction

       5    at this time.    And any Rule 35 reduction is still, you know, a

       6    possibility out there, but we will have to make that

       7    determination at a later date.

       8              THE COURT:    All right.    Thank you.

       9              Mr. Jaar, is there anything you would like to say

      10    before I announce your sentence?

      11              THE DEFENDANT:    Yes, Your Honor.     Good morning, Your

      12    Honor.

      13              THE COURT:    Good morning.

      14              THE DEFENDANT:    Good morning, everyone.      First, I want

      15    to apologize to my God, to my family and to the government.

      16    Your Honor, I want you to please have mercy on me.         I have a

      17    family that love me, and I love them with all my heart.          Two

      18    weeks ago my first and only son Layodo (phonetic) celebrated

      19    his first birthday, and I realize more and more not only am I

      20    to pay for the mistake I made but all my family is carrying

      21    this burden.

      22              Your Honor, I have accepted full responsibility from

      23    the beginning, and I have cooperate with the government,

      24    helping myself and willing to assist the government with

      25    whatever they need.     I admit I made a big mistake, in my
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       1    cooperation.    Your Honor, I pray to God that you have mercy on

       2    me and my family.    I can assure you that I will never make this

       3    mistake again.    Please give me the lowest sentence possible,

       4    and I can assure you, Your Honor, that you will not be making a

       5    mistake apart from myself, my one-year-old son, my wife, my

       6    74-years father, my 72-years-old mother and my whole family

       7    that I love a lot with all my soul and all my heart.

       8              All of them will be grateful for your mercy.         My

       9    parents are not here today because I did not want them to

      10    suffer this sentence -- of the sentence.        I pray to God that my

      11    wife who is here today will call my parents and give them the

      12    possible news of the sentence.

      13              Please have mercy on me.      Have a good day.     God bless

      14    you.

      15              THE COURT:    Thank you, Mr. Jaar.

      16              THE DEFENDANT:    Thank you.

      17              THE COURT:    I have carefully reviewed the presentence

      18    investigation report.     We began the hearing by all agreeing

      19    that Mr. Jaar's offense level would be adjusted to a Level 24.

      20    I have sentenced the codefendants.       I need to be mindful of

      21    those sentences and that there not be unwarranted sentencing

      22    disparity.     The sentence I imposed -- impose must promote

      23    respect for the law and reflect upon the seriousness of what it

      24    is Mr. Jaar committed and provide deterrence to him and to

      25    others.
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       1              And in light of those factors and all of the other

       2    factors in 18 U.S.C. §3553, it is the judgment of the Court

       3    that the defendant Rodolphe Jaar is committed to the Bureau of

       4    Prisons for 51 months.

       5              Upon release from imprisonment, Mr. Jaar, you will be

       6    on supervised release for two years.        Within 72 hours of

       7    release, you must report in person to the probation office in

       8    the district to which you are released.        While on supervised

       9    release, you will not commit any crimes, you are prohibited

      10    from possessing a firearm or other dangerous device.          You will

      11    not possess a controlled substance.        You will cooperate in the

      12    collection of DNA, you will comply with the standard conditions

      13    of supervised release, including the following special

      14    condition:    You are to surrender to immigration for removal

      15    following imprisonment.      You must pay the United States a

      16    special assessment of $100.

      17              Now that the sentence has been imposed, does the

      18    defendant or his attorney object to the Court's findings or the

      19    manner in which the sentence was announced?

      20              MR. DANSOH:    None, whatsoever, from the defense,

      21    Judge.

      22              THE COURT:    Mr. Jaar, you have the right to appeal the

      23    sentence imposed.     Any notice of appeal must be filed within 14

      24    days after entry of the judgment.       And if you are unable to pay

      25    the cost of an appeal, you may apply for leave to appeal in
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       1    forma pauperis.

       2              I wish you luck, Mr. Jaar.

       3              MR. DANSOH:    Thank you, Judge.     Could we request -- I

       4    know the Bureau of Prisons makes their determination as to

       5    designation but --

       6              THE COURT:    South Florida?

       7              MR. DANSOH:    South Florida.

       8              THE COURT:    Very well.

       9              MR. DANSOH:    FCI.   Because he continues to cooperate

      10    and his family has a home in South FCI Miami.

      11              THE COURT:    Very good.

      12              MR. DANSOH:    Thank you so much, Judge.

      13              THE COURT:    Thank you.

      14              MR. LUNKENHEIMER:     Thank you, Your Honor.

      15              THE COURT:    Okay.   You all have a good day.

      16              MR. LUNKENHEIMER:     You too.

      17         (The proceedings concluded at 10:29 a.m.)

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                                          Certificate
                                       February 3, 2015                               12
                                  Rodolphe Jaar, 13-20259-CR

       1
                                    C E R T I F I C A T E
       2

       3          I hereby certify that the foregoing is an

       4     accurate transcription of the proceedings in the

       5     above-entitled matter.

       6

       7
             _10/23/15__
       8         DATE               STEPHANIE A. McCARN, RPR
                                    Official United States Court Reporter
       9                            400 North Miami Avenue, Twelfth Floor
                                    Miami, Florida 33128
      10                            (305) 523-5518

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